Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 1 of 12 PageID #:
                                  13542



                        UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF NEW YORK
 __________________________________________
                                                   )
 MARTÍN JONATHAN BATALLA VIDAL,                    )
 ANTONIO ALARCÓN, ELIANA FERNANDEZ, )
 CARLOS VARGAS, CAROLINA FUNG FENG, )
 M.B.F., by her next friend LUCIA FELIZ,           )
 XIMENA ZAMORA, SONIA MOLINA                       ) Case No. 1:16-cv-04756 (NGG)(VMS)
 and JOHANA LARIOS SAINZ,                          )
                                                   ) June 6, 2022
         On behalf of themselves and all other     )
         similarly situated individuals,           )
                                                   )
 and MAKE THE ROAD NEW YORK,                       )
                                                   )
         On behalf of itself, its members, and its )
         clients,                                  )
                                                   )
         Plaintiffs,                               )
                                                   )
         v.                                        )
                                                   )
 ALEJANDRO MAYORKAS, in his official               )
 capacity as Secretary of Homeland Security,       )
 et al.,                                           )
                                                   )
                                                   )
         Defendants.                               )
 __________________________________________)



                        PLAINTIFFS’ REPLY IN SUPPORT OF
                          MOTION FOR MODIFICATION




                                                    ORAL ARGUMENT REQUESTED
Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 2 of 12 PageID #:
                                  13543



                                                     TABLE OF CONTENTS

 TABLE OF CONTENTS ................................................................................................................. i

 INTRODUCTION .......................................................................................................................... 1

 ARGUMENT .................................................................................................................................. 3
    I. THIS COURT’S REMEDIAL AUTHORITY TO MODIFY ITS ORDER IS
    UNDISPUTED. .......................................................................................................................... 3
    II. PLAINTIFFS’ PROPOSED MODIFICATIONS DO NOT CONFLICT WITH THE
    TEXAS II ORDER. .................................................................................................................... 5
       A. The Proposed Interim Relief Is Distinct from DACA. ................................................... 5
       B. Processing Initial Applicants Up To, But Not Including, Adjudication Would Provide
       Meaningful Relief and Not Conflict with Texas II. ................................................................ 7
       C. Defendants Fail To Explain Why They Cannot Adjudicate Extended Renewal
       Applications. ........................................................................................................................... 9

 CONCLUSION ............................................................................................................................. 10
                                                  TABLE OF AUTHORITIES

 CASES
 Brown v. Plata, 563 U.S. 493 (2011) .......................................................................................... 5, 7
 City of New York v. Mickalis Pawn Shop, LLC, 645 F.3d 114 (2d Cir. 2011) ............................... 5
 Cooper v. U.S. Postal Service, 577 F.3d 479 (2d Cir. 2009) .......................................................... 5
 King-Seeley Thermos Co. v. Aladdin Indus., Inc., 418 F.2d 31 (2d Cir. 1969) .............................. 6
 Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139 (2010) ........................................................ 5
 Texas v. United States, 549 F. Supp. 3d 572 (S.D. Tex. 2021)................................................. 8, 11
 Texas v. United States, No. 1:18-CV-00068, 2021 WL 3022434 (S.D. Tex. July 16, 2021) ....... 10

 STATUTES
 8 U.S.C. § 1324a(h)(3)(B) .............................................................................................................. 4

 RULES
 8 C.F.R. § 223.2(a).......................................................................................................................... 8
 8 C.F.R. § 274a.14(b)(2) ................................................................................................................. 7
 8 C.F.R. § 103.2 .............................................................................................................................. 8




                                                                        ii
Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 3 of 12 PageID #:
                                  13544



                                         INTRODUCTION

        Plaintiffs seek relief for class members currently harmed by Defendants’ failure to fully

 implement this Court’s December 2020 order. Defendants concede that this Court has broad

 authority to modify its own order, and they do not dispute that they have the legal authority, under

 existing immigration statutes and regulations, to grant interim relief and the other modifications

 Plaintiffs have requested. The only dispute is whether this Court should revise its prior order in a

 manner that provides meaningful relief to thousands of class members while avoiding any conflicts

 with the Texas II order.

        The three forms of relief Plaintiffs request—establishing interim relief, processing Pending

 First-Time applications, and adjudicating Extended Renewal applications—are necessary to

 effectuate this Court’s order and do so without violating the Texas II order. But instead of engaging

 with Plaintiffs’ proposals, offering other suggestions, or agreeing to mediate, Defendants’ only

 proposal is to seek an advisory opinion from a different district court. Defendants should not be so

 dismissive of this Court’s previous determinations to certify a class and grant class-wide relief,

 nor should Defendants strain to conjure obstacles to relief. The government’s contention that

 “case-by-case fact-finding would be necessary” to grant interim relief, Opp. at 11, for instance,

 and its refusal to proffer any action whatsoever to protect class member interests under this Court’s

 order, belie its claimed commitment “to preserving and fortifying” DACA. Id. at 23.

        Defendants’ first argument, that any relief ordered must be cabined to violations of the

 Homeland Security Act (HSA), fails to account for class members’ reasonable expectations

 following this Court’s 2020 order and takes an overly narrow view of this litigation. This Court’s

 order was issued only after the Supreme Court reinstated the 2012 DACA memorandum and the

 Trump Administration promptly attempted to rewrite it; the purpose and effect of this Court’s order




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Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 4 of 12 PageID #:
                                  13545



 was to reinstate the 2012 memorandum in full. The approximately 80,000 class members who

 submitted initial DACA requests in reliance on this Court’s order and before the Texas II order,

 like Ms. Larios Sainz, had the reasonable understanding that their applications would be processed

 under the full terms of the 2012 DACA memorandum. Further, the reasonable expectation of

 Extended Renewal Applicants under longstanding agency practice and this Court’s order was that

 their renewals would be adjudicated, even though they would have to submit additional evidence

 to be renewed. An amended complaint is not required, because the class has not yet received

 complete relief and the requested modification would effectuate such relief. Given the harms

 caused by Defendants’ inaction, this Court should use its uncontested authority to modify its order.

        Defendants’ overbroad reading of the effect of Texas II on this Court’s order is also

 erroneous. Defendants may take meaningful steps for a subset of the class consistent with this

 Court’s order and Texas II. Defendants speculate that the prospect of relief for a portion of the

 class certified by this Court—which the Texas II order on its face allows—will result in the loss

 of renewals for class members who currently have DACA. But none of the three relief measures

 Plaintiffs request conflict with the Texas II order, which by its terms only forbids the United States

 Citizenship and Immigration Services (USCIS) from granting DACA to new applicants.

        For the reasons set forth in Plaintiffs’ briefing and that of the States, the Court should grant

 Plaintiffs’ Motion and order Defendants to: (1) implement interim relief for Pending First-Time

 Applicants; (2) process Pending First-Time Applications up to final adjudication; and

 (3) adjudicate Extended Renewal Applications. The Court should either invite Defendants to

 propose a plan for implementing interim relief or, alternatively, refer the parties to mediation to

 work out the details of implementation.




                                                   2
Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 5 of 12 PageID #:
                                  13546



                                                  ARGUMENT

         I.       THIS COURT’S REMEDIAL AUTHORITY TO MODIFY ITS ORDER IS
                  UNDISPUTED.

         Defendants concede that the Court has the broad authority to modify its previous order

 under its equitable powers and Federal Rule of Civil Procedure 60, as discussed in Plaintiffs’

 motion, and Defendants do not dispute that they have the authority to grant the requested relief.

 Opp. at 11, 17-18; see, e.g., 8 U.S.C. § 1324a(h)(3)(B) (allowing Attorney General, now DHS, to

 grant employment authorization). Instead, they argue that Plaintiffs should have amended their

 complaint, and that any modification of this Court’s December 2020 order would reach beyond

 “the scope of the violation on which it entered judgment.” Opp. at 1, 7-11. Yet the government

 fails to address the changed circumstances now warranting modification.

         This Court’s December 2020 order created reasonable expectations among class members

 that the 2012 DACA memorandum would be fully reinstated. It was issued after the Supreme Court

 reinstated the 2012 DACA Memorandum and the Trump Administration promptly attempted to

 rewrite it. At that time, neither the Court nor the parties anticipated that a different district court

 would enjoin certain aspects of the 2012 DACA memorandum and frustrate this Court’s order.

 Pls.’ Mot. at 3-4, 8. As such, the later-issued Texas II order and stay did not change class members’

 reasonable expectations.

         Plaintiffs are not required to file an amended complaint, as Defendants argue,1 because Ms.

 Larios Sainz and other members of the certified subclass have not received complete relief upon


 1
   Defendants cherry-pick quotes from case law relating to the scope of remedial injunctions in inapplicable legal and
 factual contexts. Opp. at 7. None of the cases support Defendants’ position. Cooper v. U.S. Postal Service, 577 F.3d
 479, 496 (2d Cir. 2009), and Brown v. Plata, 563 U.S. 493, 531 (2011), concerned the need for narrow tailoring of
 remedies in the special contexts of Establishment Clause claims and Eighth Amendment claims under the Prison
 Litigation Reform Act, respectively. The unique concerns regarding the scope of remedy in those cases are absent in




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Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 6 of 12 PageID #:
                                  13547



 their claims in the Fourth Amended Complaint. See, e.g., Prayer for Relief, ECF No. 308 at 61 ¶

 13 (“Enjoin Defendants to adjudicate first-time DACA applications from any applicant who can

 establish that they are eligible for DACA under the terms of the Napolitano Memorandum . . . and

 who files such application within a reasonable period of time following the date of decision in this

 case, notwithstanding any future efforts by Defendants to again terminate the program”); id. at 61

 ¶¶ 11-12. Defendants have not fulfilled their obligations under this Court’s prior order, which was

 entered to remedy the harms alleged in Plaintiffs’ Fourth Amended Complaint. Thus, modification

 is necessary and appropriate to fully effectuate this Court’s prior order and can be done so as to

 avoid any conflict with Texas II. Even if Plaintiffs were to amend their complaint, Plaintiffs would

 still face the same harms stemming from Defendants’ failure to effectuate the terms of this Court’s

 2020 order and would still request the same relief. In other words, regardless of whether an

 amended complaint is filed, class members are entitled to complete relief by the terms of this

 Court’s 2020 order.

         Defendants’ reliance on Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139 (2010), to

 argue that the Court need not have done anything more than vacate the Wolf Memorandum, is also

 misplaced. Opp. at 7, 9-10. First, unlike in Monsanto, here the Court did not find that vacatur alone

 was “sufficient to redress [Plaintiffs’] injur[ies] . . . .” 561 U.S. at 166. Rather, the Court ordered

 that the full terms of the 2012 DACA Memorandum be reinstated and that Defendants clearly

 communicate as much to class members, ECF No. 354 at 4-5, steps which Defendants never

 previously argued were beyond the permissible scope of relief for Plaintiffs’ claims. Second,

 Plaintiffs’ request for relief is limited to remedies necessary to effectuate this Court’s December


 the present case, where the issue is effectuation of the Court’s prior order. City of New York v. Mickalis Pawn Shop,
 LLC, 645 F.3d 114 (2d Cir. 2011), is inapplicable because it analyzed injunctions that were challenged for being
 unconstitutionally vague and violating Federal Rule of Civil Procedure 65(d), id. at 143.



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Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 7 of 12 PageID #:
                                  13548



 2020 order in light of changed factual circumstances. Monsanto does not preclude courts from

 modifying previous orders especially where, as here, “a better appreciation of the facts in light of

 experience indicates that the decree is not properly adapted to accomplishing its purposes.” King-

 Seeley Thermos Co. v. Aladdin Indus., Inc., 418 F.2d 31, 35 (2d Cir. 1969) (Friendly, J.).

 Accordingly, the Court should use its uncontested authority to modify its order.

                   II.      PLAINTIFFS’ PROPOSED MODIFICATIONS DO NOT CONFLICT
                            WITH THE TEXAS II ORDER.

          This Court ordered the government to accept new DACA applications, and the Texas II

 order bars USCIS from granting those applications. Plaintiffs now move this Court to clarify the

 government’s obligations in the space between the two orders, and in particular to order three

 forms of relief that avoid any conflict with the Texas II prohibition on granting new DACA

 applications. As representatives of a nationwide class that includes both current DACA recipients,

 who can renew under the Texas II order’s stay, and DACA-eligible individuals who cannot

 currently access the program, Plaintiffs are well-situated to weigh any risk of a potential conflict.

 But more importantly, Defendants are simply incorrect that interim relief and the other measures

 requested by Plaintiffs would create a conflict—especially given Defendants’ latitude in

 fashioning the details of any further relief to avoid a conflict with the Texas II order.2

                   A. The Proposed Interim Relief Is Distinct from DACA.

          As discussed in Plaintiffs’ Motion, this Court should order Defendants to establish a

 program of interim relief. The Court could then invite Defendants to propose the specifics of an




 2
   Should this Court be inclined to order further relief, Defendants “request that the Court first permit them to seek
 clarification in the Southern District of Texas as to whether providing the relief in question would violate that Court’s
 injunction.” Opp. at 23-24. This Court need not rely solely on the government lawyers to determine how best to avoid
 a conflicting injunction. See, e.g., Transcript of Civil Cause for Status Conference at 30:2-3, Batalla Vidal v. Baran,
 No. 16 CV 4756 (NGG-JO) (Sept. 26, 2017) (“MAGISTRATE JUDGE ORENSTEIN: . . . We have been in touch
 with the court in California[]” regarding Judge Orenstein’s attendance at Judge Alsup’s hearing).


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Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 8 of 12 PageID #:
                                  13549



 interim relief plan, subject to briefing by all parties and the Court’s approval. See, e.g., Brown v.

 Plata, 563 U.S. 493, 510 (2011). This familiar approach to shaping an institutional remedy would

 afford the Court an opportunity to ensure no conflict arises with the Texas II order. Alternatively,

 the Court could refer the parties to mediation to develop the details of an interim relief program.3

 The Court should reject Defendants’ arguments that concerns about privilege will necessarily

 frustrate mediation.

         Defendants’ objections notwithstanding, the temporary, non-renewable nature of the

 proposed interim relief differentiates it from DACA, and any interim protection would conclude

 upon final resolution of Pending First-Time Applications. Opp. at 15. Final resolution of the

 Pending First-Time Applications could happen at any time over the coming months via final rule,

 an appellate decision in the Texas litigation, or congressional action. If DACA were permanently

 ended, the government could revoke interim relief, while allowing work authorization for DACA

 recipients to remain valid until their individual expiration dates. See 8 C.F.R. § 274a.14(b)(2)

 (employment authorization under 8 C.F.R. § 274a.12(c) may be revoked if “any condition upon

 which it was granted has not been met or no longer exists”).

         Defendants also minimize ineligibility for advance parole as distinguishing interim relief

 from DACA. Opp. at 16. Yet, the Texas II court paid special attention to advance parole and

 grounded its ruling on the legality of DACA in part on the availability of advance parole. See Texas

 v. United States, 549 F. Supp. 3d 572, 612-14 (S.D. Tex. 2021). Excluding interim relief recipients

 from advance parole eligibility would be a major restriction on the scope and substance of such

 relief by precluding some recipients from adjusting their immigration status following an advance

 parole entry; it would thus mark a substantive departure from DACA.


 3
   See Pl. States’ Mot. at 8 (“The Court likewise should order defendants to explain in mediation any categories of
 interim relief that DHS has the authority to provide without running afoul of the Texas injunction.”).


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Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 9 of 12 PageID #:
                                  13550



          Defendants next argue that the U.S. government is unable to prevent interim relief

 recipients from accessing advance parole, Opp. at 16, but Defendants are incorrect. Applicants for

 advance parole must file “in accordance with the form instructions,” 8 C.F.R. § 223.2(a), which

 include a list of classes of noncitizens who are eligible that is updated when new eligible classes

 are created.4 For example, DACA recipients were added to the instructions as such a class on

 November 30, 2012.5 Without inclusion in the form instructions, interim relief recipients would

 not have an expectation that they would be eligible to apply for advance parole.

          Finally, Defendants argue that any exclusion from advance parole they could create for

 interim relief recipients would be subject to litigation. Opp. at 16. But potential litigation risk is

 not grounds for refusing to modify this Court’s order and clarify its interaction with the Texas II

 order. There is litigation risk whether Defendants act or not. See, e.g., ECF No. 254 at 5-6 (rejecting

 Defendants’ litigation risk reasoning for decision to end the DACA program).6

                   B. Processing Initial Applicants Up To, But Not Including, Adjudication
                      Would Provide Meaningful Relief and Not Conflict with Texas II.

          To give full effect to this Court’s December 2020 order, in light of the changed conditions

 resulting from the interplay of this Court’s order and the Texas II order, this Court should require

 Defendants to resume processing Pending First-Time Applications and requests for Employment

 Authorization Documents, up until the point of adjudication. See Pls.’ Mot. at 12-14. This



 4
   Form I-131, OMB No. 1615-0013, Instructions for Application for Travel Document, U.S. Citizenship & Immigr.
 Servs. (Apr. 24, 2019), https://www.uscis.gov/sites/default/files/document/forms/i-131instr.pdf; see also 8 C.F.R.
 § 103.2 (“The form’s instructions are hereby incorporated into the regulations requiring its submission.”).
 5
   See Agency Information Collection Activities: Application for Travel Document, Form Number I–131, 77 Fed. Reg.
 71287, 71432 (Nov. 30, 2012) (“USCIS is revising the form’s instructions to include clear guidance regarding [DACA
 recipients’] ability to request advance parole documents under certain circumstances as provided under the
 memorandum issued by the Secretary of the Department of Homeland Security on June 15, 2012, and the
 implementation guidance that derives from it.”).
 6
   That the U.S. government decided to target DACA recipients as the only deferred action population carved out of
 the Affordable Care Act (ACA) is not a fair rationale for outright refusing to provide interim relief here. But cf. Opp.
 at 17. While Plaintiffs disagree with this exclusion of DACA recipients from the ACA, Defendants retain a similar
 power to exclude interim relief recipients.


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Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 10 of 12 PageID #:
                                  13551



  processing would move First-Time Applicants to a more advanced stage of adjudication should

  DACA be reopened for them in the future—an issue that has proven determinative as to whether

  class members received a grant of DACA between December 4, 2020 and July 16, 2021.

           Defendants argue perfunctorily that the Texas II order “may be read” as preventing them

  from processing initial DACA requests, Opp. at 21, but the Texas II order by its terms bars a grant

  of DACA; it does not preclude other processing steps. Id.7 Defendants next suggest that USCIS

  should not spend any resources on First-Time Applicants because USCIS is “for the indefinite

  future, powerless to grant” First-Time Applications and because the agency faces backlogs. Opp.

  at 21-22. Defendants unlawfully rescinded DACA in 2017, then unlawfully issued the Wolf

  Memorandum in 2020; in light of these actions, their weak policy objections do not justify a failure

  to process First-Time Applicants to the point of decision. Any administrative inconveniences to

  USCIS in processing Pending First-Time Applications are outweighed by the harm caused to those

  applicants by not processing their applications to the fullest extent possible.8

           Finally, Defendants argue that processing would be futile because the agency would have

  to re-do such steps if DACA were reopened for initial applicants in the future. Id. But the validity

  period of background checks is a USCIS policy matter and not required by statute; Defendants

  have the authority to modify or update those requirements. Further, Plaintiffs’ experiences show

  that having processing steps completed ahead of time makes a meaningful difference. For instance,

  class members who previously had their biometrics captured as part of other applications for

  immigration relief, such as Plaintiff M.B.F., did not have to appear for a second appointment and




  7
    See also Pl. States’ Mot. at 6 (noting that “there are at least two intermediate processing steps described in the Batalla
  Vidal plaintiffs’ motion which do not appear to conflict with the Texas injunction”) (citation omitted).
  8
    See Pl. States’ Mot. at 6 (“[T]he equities weigh sharply in favor of modifying the December 4, 2020, order to afford
  some form of relief to the 80,000 individuals who submitted first-time DACA applications in reliance on the Court’s
  order and for whom the grant of DACA is currently forestalled.”).


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Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 11 of 12 PageID #:
                                  13552



  received faster adjudications of their initial DACA applications, Pls.’ Mot. at 4.9 Even if USCIS

  re-runs background checks periodically, the agency can do so from existing fingerprints, and the

  time saved from capturing biometrics is considerable. This difference in processing time

  determined whether class members received DACA before July 16, 2021, like M.B.F., or continue

  to await an adjudication, like Ms. Larios Sainz. Id. at 4-5, 18-19.

                  C. Defendants Fail To Explain Why They Cannot Adjudicate Extended
                     Renewal Applications.

          Finally, Defendants’ only argument for not adjudicating Extended Renewal Applications

  is because of so-called “longstanding policy and practice,” which Defendants admit was not in

  place after February 2018. Opp. at 20. Defendants justify their previous departures from

  “longstanding policy and practice” by pointing to language in this Court’s and the Northern

  District of California’s 2018 orders directing Defendants to maintain DACA except for individuals

  who “have never before” received DACA, id. (citing orders). But the Texas II order says nothing

  that contradicts this aspect of the 2018 orders; indeed, it explicitly allows for Defendants to

  adjudicate renewal applications “regardless of when [they] are submitted,” Texas v. United States,

  No. 1:18-CV-00068, 2021 WL 3022434, at *2 (S.D. Tex. July 16, 2021), and credits the reliance

  interests of those like Extended Renewal Applicants who have previously held DACA. See, e.g.,

  Texas, 549 F. Supp. 3d at 624. Moreover, Defendants have provided no reasoning, legal or

  otherwise, as to why any practice of treating Extended Renewal Applicants as initial applicants is




  9
   In another example, when the USCIS support centers that capture biometrics were closed due to the pandemic,
  USCIS used previously captured biometrics to expedite processing and deal with backlogs. See USCIS to Continue
  Processing Applications for Employment Authorization Extension Requests Despite Application Support Center
  Closures, U.S. Citizenship & Immigr. Servs. (Mar. 30, 2020), https://tinyurl.com/277ckbkv.


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Case 1:16-cv-04756-NGG-VMS Document 385-8 Filed 06/06/22 Page 12 of 12 PageID #:
                                  13553



  required.10 For these reasons, Defendants should be ordered to adjudicate Extended Renewal

  Applications.

                                             CONCLUSION

          For the reasons discussed herein and in Plaintiffs’ Motion, Plaintiffs respectfully request

  that this Court grant Plaintiffs’ Motion for Modification.



  Respectfully submitted,

  /s/ Michael J. Wishnie
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  10
    Nor are Plaintiffs suggesting that USCIS must cease requiring additional evidence from Extended Renewal
  Applicants so long as those applications are adjudicated.


                                                     10
